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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                              )
 UNITED STATES OF AMERICA,                    )
                                              )
 v.                                           )
                                              )       Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                            )
                                              )       Dated: April 29, 2022
        Defendant.                            )
                                              )

                                             ORDER
       On April 28, 2022, certain interested parties filed objections to defendant’s motions to
seal, dated March 23, 2022 (ECF No. 29), and April 4, 2022 (ECF No. 42). See ECF No. 54.
Pursuant to the Court’s April 14, 2022, Order, defendant is directed to respond to the interested
parties’ objections, on or before May 12, 2022.

       IT IS SO ORDERED.



                                                  s/ Lydia Kay Griggsby
                                                  LYDIA KAY GRIGGSBY
                                                  United States District Judge
